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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
MTV GROUP L L C,                                     )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, MTV GROUP L L C, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

        7.     Defendant, MTV GROUP L L C (hereinafter “MTV GROUP L L C”), is a Texas

limited liability corporation that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, MTV GROUP L L C, may be properly served with process for service

via its Registered Agent, to wit: c/o Kurian M. Joseph, Registered Agent, 4339 Roundtree Ln.,

Missouri City, TX 77459.

                                  FACTUAL ALLEGATIONS

        9.     On or about November 1, 2020, Plaintiff was a customer at “Dickinson Express”

a business located at 4921 FM 517, Dickinson, TX 77539, referenced herein as “Dickinson

Express.” Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached

is a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

        10.    Defendant, MTV GROUP L L C, is the owner or co-owner of the real property

and improvements that Dickinson Express is situated upon and that is the subject of this action,

referenced herein as the “Property.”



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       11.     Plaintiff lives 14 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 4921 FM 517, Dickinson, TX 77539,

Harris County Property Appraiser’s identification number 434568 (“the Property”), and/or full

and equal enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages

and/or accommodations offered therein were denied and/or limited because of his disabilities,

and he will be denied and/or limited in the future unless and until Defendant, , is compelled to

remove the physical barriers to access and correct the ADA violations that exist at the Property,

including those set forth in this Complaint.

       13.     Defendant, MTV GROUP L L C, as property owner, is responsible for complying

with the ADA for both the exterior portions and interior portions of the Property. Even if there is

a lease between Defendant, MTV GROUP L L C, and the tenant allocating responsibilities for

ADA compliance within the unit the tenant operates, that lease is only between the property

owner and the tenant and does not abrogate the Defendant’s independent requirement to comply

with the ADA for the entire Property it owns, including the interior portions of the Property

which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting



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the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,
                  segregation, and relegation to lesser service, programs, activities, benefits,
                  jobs, or other opportunities; and

          (v)     the continuing existence of unfair and unnecessary discrimination and
                  prejudice denies people with disabilities the opportunity to compete on an
                  equal basis and to pursue those opportunities for which our free society is


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               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



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       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, MTV GROUP L L C, has discriminated against Plaintiff (and others

with disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       29.     Defendant, MTV GROUP L L C, will continue to discriminate against Plaintiff

and others with disabilities unless and until Defendant, MTV GROUP L L C, is compelled to

remove all physical barriers that exist at the Property, including those specifically set forth



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herein, and make the Property accessible to and usable by Plaintiff and other persons with

disabilities.

        30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

        (i)     Near Unit 4913, the accessible parking space is missing an identification sign in

                violation of Section 502.6 of the 2010 ADAAG standards. This violation would

                make it difficult for Plaintiff to locate an accessible parking space.

        (ii)    Near Unit 4913, the access aisle to the accessible parking space is not level due to

                the presence of an accessible ramp in the access aisle in violation of Section 502.4

                of the 2010 ADAAG standards. This violation would make it dangerous and

                difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

        (iii)   Near Unit 4913, the accessible curb ramp is improperly protruding into the access

                aisle of the accessible parking space in violation of Section 406.5 of the 2010

                ADAAG Standards. This violation would make it difficult and dangerous for

                Plaintiff to exit/enter their vehicle.

        (iv)    Near Unit 4913, the accessible parking space is not level due to the presence of

                accessible ramp side flares in the accessible parking space in violation of Sections

                502.4 and 406.5 of the 2010 ADAAG standards. This violation would make it




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          dangerous and difficult for Plaintiff to exit and enter their vehicle while parked at

          the Property.

 (v)      Near Unit 4921, the accessible parking space is missing an identification sign in

          violation of Section 502.6 of the 2010 ADAAG standards. This violation would

          make it difficult for Plaintiff to locate an accessible parking space.

 (vi)     Due to a policy of not having parking stops for the parking spaces directly in front

          of the exterior access route, cars routinely pull up all the way to the curb and the

          "nose" of the vehicle extends into the access route causing the exterior access

          route to routinely have clear widths below the minimum thirty-six (36") inch

          requirement specified by Section 403.5.1 of the 2010 ADAAG Standards. This

          violation would make it dangerous and difficult for Plaintiff to access exterior

          public features of the Property.

 (vii)    Due to a policy of not having parking stops for the parking spaces directly in front

          of the exterior access route, cars routinely pull up all the way to the curb and the

          "nose" of the vehicle extends into the access route as a result, in violation of

          Section 502.7 of the 2010 ADAAG Standards, parking spaces are not properly

          designed so that parked cars and vans cannot obstruct the required clear width of

          adjacent accessible routes.

 (viii)   As detailed in (vi) and (vii) above, when a vehicle in the accessible parking space

          pulls up to the curb, due to the lack of a parking stop for the accessible parking

          space, the “nose” of the vehicle extends over the only accessible ramp serving the

          accessible parking space near Unit 4921 blocking a clear 36 inch accessible route.

          As a result, there is no accessible route leading from the accessible parking space



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          near Unit 4921 in violation of section 208.3.1 of the 2010 ADAAG Standards.

          This violation would make it difficult for Plaintiff to access the units of the

          Property from this accessible parking space.

 (ix)     Inside Dickinson Express, there are sales and services counters lacking any

          portion of the counter that has a maximum height of 36 (thirty-six) inches from

          the finished floor in violation of Section 904.4 of the 2010 ADAAG standards, all

          portions of the sales and service counter exceed 36 (thirty-six) inches in height

          from the finished floor. This violation would make it difficult for Plaintiff to

          properly transact business at the Property.

 (x)      Inside Dickinson Express, the interior has walking surfaces lacking a 36 (thirty-

          six) inch clear width, due to a policy of placing items in the accessible route and

          maximizing product placement, in violation of Section 403.5.1 of the 2010

          ADAAG standards. This violation would make it difficult for Plaintiff to properly

          utilize public features at the Property.

 (xi)     Defendant fails to adhere to a policy, practice and procedure to ensure that all

          facilities are readily accessible to and usable by disabled individuals.

 DICKINSON EXPRESS RESTROOMS

 (xii)    The restrooms lack proper door hardware in violation of Section 404.2.7

           of the 2010 ADAAG standards because it requires the twisting of the

           wrist and tight grasping to operate. This would make it difficult for

           Plaintiff and/or any disabled individual to utilize the restroom facilities.

 (xiii)   The restroom lacks signage in compliance with sections 216.8 and 703 of

           the 2010 ADAAG standards. This would make it difficult for Plaintiff



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                and/or any disabled individual to locate accessible restroom facilities.

       (xiv)   The door to the restrooms has a maximum clear width below 32 (thirty-

                two) inches, due to the proximity of the gaming device, in violation of

                Section 404.2.3 of the 2010 ADAAG standards. This would make it

                difficult for Plaintiff and/or any disabled individual to safely utilize the

                restroom facilities.

       (xv)    The door to the restroom lacks an adequate minimum maneuvering

                clearance, due to the proximity of a barrier closer than 18 inches to the

                door hardware, in violation of Section 404.2.4 of the 2010 ADAAG

                standards.    This made it difficult for Plaintiff and/or any disabled

                individual to safely utilize the restroom facilities.

       (xvi)   Restrooms have a pedestal sink with inadequate knee and toe clearance in

                violation of Section 306 of the 2010 ADAAG standards. This would

                make it difficult for Plaintiff and/or any disabled individual to safely

                utilize the restroom facilities.

       (xvii) The restrooms have grab bars adjacent to the commode which are not in

                compliance with Section 604.5 of the 2010 ADAAG standards as the rear bar is

                too short. This would make it difficult for Plaintiff and/or any disabled individual

                to safely utilize the restroom facilities.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.



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       33.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, MTV

GROUP L L C, has the financial resources to make the necessary modifications. According to

the Property Appraiser, the Appraised value of the Property is $1,148,700.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

MTV GROUP L L C, is required to remove the physical barriers, dangerous conditions and



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ADA violations that exist at the Property, including those alleged herein.

       41.     Plaintiff’s requested relief serves the public interest.

       42.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, MTV GROUP L L C.

       43.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, MTV GROUP L L C, pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, MTV

GROUP L L C, to modify the Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)     That the Court find Defendant, MTV GROUP L L C, in violation of the ADA and

               ADAAG;

       (b)     That the Court issue a permanent injunction enjoining Defendant, MTV GROUP

               L L C, from continuing their discriminatory practices;

       (c)     That the Court issue an Order requiring Defendant, MTV GROUP L L C, to (i)

               remove the physical barriers to access and (ii) alter the Property to make it readily

               accessible to and useable by individuals with disabilities to the extent required by

               the ADA;

       (d)     That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

               and costs; and




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 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: December 17, 2020

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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